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C,)\ NORTHERN DISTRICT oF TEXAS
UNITED STATES DISTRICT COU+KT F IL ED
NORTHERN DISTRICT OF TE}E§Q S _
DALLAS DIvlsIo v AUG 2 0 2001
POSITIVE SOFTWARE SOLUTIONS, § \ CLERK, U. . ICT COURT
INC., AND EDWARD MANDEL, § ` By
§ \ Deputy
Plaintiffs, § ‘
§
§ CIVIL ACTION NO.
§
SUSMAN GODFREY L.L.P., § JURY TRIAL DEMANDED
oPHELIA F. CAMINA, §
BARRY C. BARNETT, § ,, .. ' : _
FRANKNESE, § 3 070¥"1422 ~°'N~
JEFF LEMIEUX, AND § ‘
JOHN NORMENT, §
§
Defendants. §

 

PLAINTIFFS' ORIGINAL COMPLAINT

 

Plaintiffs Positive Software Solutions, Inc. and Edward Mandel (collectively, "Plaintiffs")
file this Original Complaint against Defendants Susman Godfrey, L.L.P., Ophelia F. Camifia,
Barry C. Barnett, Frank Nese, J eff Lemieux, and John Norment (collectively, "Defendants") for
fraud and civil conspiracy Susman Godfrey, L.L.P. and the other co-Defendants conspired to
defraud Plaintiffs by intentionally making false representations of material facts and concealing
material facts in the civil action styled Positive Software Solutions, Inc. v. New Cem‘ury
Mortgage Corporation, et al., No. 03-CV-0257-N (the "Related Litigation"). As a result,
Plaintiffs have suffered and Will continue to suffer tens of millions of dollars in damages ln

support of this Original Complaint, Plaintiffs Would respectfully show the following:

 

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I.
PARTIES

1. Positive Software Solutions, Inc. ("Positive Software") is a Texas corporation
having its principal place of business in Dallas, Texas.

2. Edward Mandel is the Chief Executive Officer of Positive Software and can be
contacted at 4939 Normandy Drive, Frisco, Texas 75034.

3. Defendant Susman Godfrey L.L.P. ("Susman Godfrey") is a Texas limited
liability partnership having a principal place of business at Suite 5100, 1000 Louisiana, Houston,
Texas 77002-5096, where it may be served. Susman Godfrey also maintains a significant office
in Dallas, Texas.

4. Defendant Ophelia F. Camina ("Camina") maintains a residence at 4521
Bordeaux Avenue, Dallas, Texas 75205, Where she may be served.

5. Defendant Barry C. Barnett ("Bamett") maintains a residence at 4511 Arcady
Avenue, Dallas, Texas 75205, Where he may be served.

6. Defendant Frank Nese ("Nese") is a resident of the State of Califomia and
maintains a residence at 1227 Surfine Way, Corona del Mar, California 92625, Where he may be
served.

7. Defendant J eff Lemieux ("Lemieux") is a resident of the State of Califomia and
maintains a residence at 29891 Weatherwood, Laguna Niguel, Califomia 92677, Where he may
be served.

8. Defendant John Norment ("Norment") is a resident of the State of Califomia and
maintains a residence at 12801 Bonita Heights Drive, Santa Ana, Califomia 92705, Where he

may be served.

 

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II.
s|URISDICTION

9. This is an action for copyright infringement arising under the Copyright Act of
1976, l7 U.S.C. §§ lOl et seq., as well as for fraud and civil conspiracy This Court's
jurisdiction over this subject matter is proper under 28 U.S.C. §§ 1331, 1332, 1338(a) and (b),
and this Court's pendent jurisdiction

10. Personal jurisdiction exists generally over Defendants because each Defendant
has sufficient minimum contacts with the forum as a result of business conducted within this
judicial district and as a result of availing themselves of the courts of this judicial district. Many
of the acts of fraud and the predicate acts of civil conspiracy took place - and fraudulent
statements were made - in Dallas, TeXas.

ll. Venue is proper in this Court because a substantial amount of the activities that
give rise to this lawsuit related to judicial proceedings before this Court and at the offices of the
American Arbitration Association ("AAA") in Dallas, Texas. A majority of the fact witnesses
and relevant documents are located within this judicial district

III.
FACTUAL BACKGROUND

12. The dispute between Plaintiffs and Defendants stems from Defendants' fraudulent
conduct in a related civil action styled Positive Software Solutions, Inc. v. New Century
Mortgage Corporation, et al., No. 03-CV-0257-N ("the Related Litigation"). Specifically,
Defendant Susman Godfrey, who served as lead counsel to New Century Mortgage Corporation
("New Century") in the Related Litigation, and the other co-Defendants, who were employees or

agents of New Century or other defendants in the Related Litigation, conspired to defraud

 

PLAINTIFFS' ORIGINAL COMPLAINT PAGE 3 OF 23

 

 

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Plaintiffs before this tribunal and the related Arbitration by intentionally concealing documents,
willfully withholding material evidence, offering perjured testimony and fraudulently
misrepresenting facts to obtain a favorable ruling in the Arbitration. But for these fraudulent acts
and statements, Positive Software would have received and collected hundreds of millions of
dollars on damages
A. AN ENTREPRENEUR's GRoUND-BREAKING SoFTwARE

1. Edward Mandel and Positive Software

13. Positive Software was a leading provider of software solutions whose systems
have been deployed by some of the foremost companies in mortgage banking, financial services
telecommunications and other industries

14. Positive Software was founded in 1995 by entrepreneur Edward Mandel who is
Positive Software's president and CEO. Mr. Mandel received a B.S. in Computer Science and
Electrical Engineering, and an M.B.A. in Information Systems from the University of Texas at
Dallas. When he founded the company Mr. Mandel already had eight years experience in
designing and implanting customer databases. In 2004, Mr. Mandel was named a finalist by
Emst & Young LLP for the Ernst & Young Entrepreneur of the Year 2004 Awards in the
Southwest Area. Mr. Mandel was selected as a finalist in the Southwest Area by a panel of
judges comprised of local community and business leaders

15. Until the sale of its assets due to Defendants‘ fraud, Positive Software was
primarily engaged in the business of developing, marketing, and manufacturing computer
software products used in the mortgage industry , In fact, if not for the fraudulent and

conspiratorial acts of Susman Godfrey and the other co-Defendants, Positive Software would

 

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still be engaged in that business or would have sold that business for hundreds of millions of

dollars
2. "LoanForce" and "TeleTrend" - Building a Relationship Between Positive
Software and New Century
16. One of Positive Software's products was a proprietary software system called

TeleTrend. TeleTrend generated and managed customer interactions in telemarketing call
centers and retail divisions TeleTrend has generated substantial revenues for Positive Software's
clients, including New Century

17. In 2000, Positive Software developed and introduced into the marketplace a new
product called LoanForce 2000 ("LoanForce"). LoanForce was a proprietary "enterprise
prospect marketing solution" software package for the customer-lending/mortgage-banking
vertical market. LoanForce was an improvement upon the TeleTrend system.

18. Positive Software owned the proprietary software that comprises the TeleTrend
and LoanForce systems That software is copyrightable subject matter under the laws of the
United States. Positive Software owns all copyrights to TeleTrend and LoanForce.

19. Positive Software licensed the TeleTrend software to New Century_one of the
defendants in the Related Litigation_in 1998. For two years, New Century paid Positive
Software for its license subscriptions to use TeleTrend.

20. Once Positive Software created LoanForce in 2000, New Century wanted to
upgrade its TeleTrend subscriptions to LoanForce. Positive Software agreed to the upgrade, but
maintained that the subscription for the LoanForce upgrade would remain active only if New
Century continued to pay the annual regular maintenance subscription fees for the TeleTrend

product.

 

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B. A SoRDID HIsToRY oF FRAUD

1. New Century Enacts its Scheme to Exploit Positive Software's Trust

21. Nese was a senior manager at New Century In November 2001, Nese
approached Positive Software to request 600 additional user licenses for New Century Positive
Software offered New Century a very low promotional price, but Nese and New Century rejected
the offer. Two weeks later, New Century unexpectedly terminated Positive Software's remote
access to New Century's LoanForce system. The termination prevented Positive Software from
monitoring New Century's use of the LoanForce software on New Century's computer systems

22. Further, in November 2001, Nese and others within New Century currently
unknown to Positive Software devised a plan to pirate licenses to LoanForce and replicate the
LoanForce source code. Other individuals involved in this scheme to duplicate the copyrighted
LoanForce software were Kirk Redding, Anne Breuer, Bill Chan, Thuy Cure, and John Shepard.

23. Oblivious to New Century's fraudulent copying scheme, Mr. Mandel and Positive
Software continued to attempt to Sell additional licenses to New Century Indeed, Nese and his
cohorts within New Century continued to lead Mr. Mandel and Positive Software on, holding
discussions during 2002 about the possibility of obtaining additional licenses for the LoanForce
system and its applications for New Century and its retailers

24. On December 18, 2002, Mr. Mandel met with Nese to discuss New Century's
2003 budget and needs for additional user licenses Nese represented that New Century did not
expect enough growth to warrant purchase of additional user licenses Nese also referred
Positive Software to Lemieux, the CEO of eConduit.com, a company that New Century
Financial Corporation - a New Century associated entity ~ acquired in the beginning of 2002,

Nese said that all future license purchases would go through Lemieux.

 

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25. On December 19, 2002, Mr. Mandel met with Lemieux for the first time to
discuss the LoanForce licenses and whether New Century needed additional licenses Promoting
New Century's illegal copying scheme, Lemieux feigned interest in purchasing additional user
licenses Lemieux asked for, and Positive Software unwittingly provided, confidential copies of
the contract and product documentation Lemieux also asked if Positive Software could make an
exception to its regular practice of annual subscription prices and let New Century pay twenty
percent of the current 2003 license subscription by the end of 2002, and the remainder by
January 20, 2003, Because of their longstanding relationship, Positive Software agreed. New
Century, however, never honored the agreement Positive Software and Mr. Mandel later
learned that New Century's proposals were simply a ruse to buy time to continue copying
LoanForce copyrighted software code.

2. New Century's Treachery is Uncovered and Positive Software Attempts to
Protect its Rights

26. In January 2003, Positive Software discovered that New Century had pirated
approximately 1,000 LoanForce user licenses, considerably more than the 140 licenses that New
Century had purchased

27. Furthermore, Positive Software learned that New Century was surreptitiously
developing virtually identical LoanForce software called LoanTrack and mLOS.

28. On January 28, 2003, Mr. Mandel conducted a teleconference with Nese and
Lemieux. Aware that the virtually identical mLOS software was not yet operational, Nese and
Lemieux attempted to stall Positive Software's cancellation of the LoanForce license agreements
Nese and Lemieux needed some more time before the illegally-created mLOS software was

ready Lemieux, in order to extend the LoanForce licenses a little longer until the mLOS

 

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software was operational, informed Mr. Mandel and Positive Software that he was considering
purchasing LoanForce software licenses for eConduit's thirty-agent call icenter.

29. To protect New Century's ability to continue surreptitiously copying the
copyrighted LoanForce software code, Lemieux stated that he had recommended that New
Century Financial Corporation "look into using LoanForce in the branches." The expansion of
LoanForce into the branches and eConduit was the "carrot" held out to Positive Software to
extend the 140 LoanForce licenses until New Century's mLOS program could be completed.

30. During the call, Mr. Mandel asked Nese for details about New Century's
LoanTrack software system. Attempting to allay Mr. Mandel's suspicions Nese lied, falsely
declaring that LoanTrack had nothing to do with Positive Software's LoanForce software. Nese
also falsely stated that LoanForce was not being used within the branch network. However, it is
clear that the branches had access to LoanForce via LoanTrack.

31. On February 6, 2003, Positive Software sued New Century, Nese, Lemieux, and
other related defendants in U.S. District Court for the Northern District of Texas for, inter alia,
copyright infringement, breach of contract, and fraud.

32. New Century retained Susman Godfrey to represent it in that lawsuit.
Specifically, Susman Godfrey partners Barnett and Camina filed notices of appearances and
served as lead counsel in the case.

C. THE TAINTED ARBITRATIoN AND ITS AFTERMATH

33. On April 28, 2003, New Century persuaded the court to compel the parties to

arbitrate their dispute under a Software Subscription Agreement between Positive Software and

New Century

 

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1. A Parade of Lies Before the Court and the Arbitrator

34. On the day the Court ordered the parties to Arbitration, the Court also entered a
protective order and granted a preliminary injunction against New Century ("the Order"). The
relatively narrow scope of the preliminary injunction was based on material representations -
representations later established to be false ~ that New Century and its counsel made to the
Court.

35. Under the Order, the New Century's outside counsel - Susman Godfrey - was
prohibited from disclosing "Confidential Information" to New Century's employees The Order
further enjoined New Century from any use of the LoanForce application software, the
LoanForce database, LoanTrack, LF_Moon, or LTK_Moon.

36. One week before the Order, anticipating the Court's prescriptions New Century's
lead counsel, Susman Godfrey's Bamett, represented in an April 21, 2003 letter to the Court that:

0 New Century has no intention of ever again using LoanForce application
software, the LoanForce database, LoanTrack, LF_Moon, or LTK_Moon.

0 New Century would, no later than April 25, 2003 and under Dr. Pooch's
supervision, delete or return to [Positive Software] all LoanForce
software, including application software and the LoanForce database that
New Century has the ability to access

0 New Century would not use LoanTrack-2 for telemarketing or any other
commercial purpose before May l2, 2003.

37. Barnett further represented that additional injunctive relief "is not necessary and
under Dr. Pooch's supervision, New Century removed any danger of imminent harm to [Positive
Software's] legitimate interests." This statement was false.

38. In another fraudulent representation, Dr. Udo Pooch, New Century's expert, stated
on April 24, 2003 that "New Century ceased using LoanTrack-1 and the LoanForce database

commencing April 18, 2003." According to Dr. Pooch, as of April 18, 2003, "no New Century-

 

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Retail IT personnel had access" to the data from the LoanForce database." Dr. Pooch personally
"supervised and observed the deletion of LoanForce, LoanTrack, LTK Moon and LF Moon.
This was done following my direction and in my presence...." Finally, Dr. Pooch affirmed,
"[b]ased on my professional opinion, New Century has satisfactorily cleansed itself of
LoanForce, LoanTrack, LTK Moon and LF Moon."

39. New Century's and Barnett's material representations affected the Court's decision
concerning the scope of preliminary injunctive relief. New Century and Defendants intended to
fraudulently persuade the Court that no further injunctive relief was necessary to protect Positive
Software's installed software at New Century's facilities

40. Despite the assurances to the Court, New Century - with Defendants' knowledge
- continued to use the LoanForce software, This initial fraudulent conduct unfortunately proved
to be the tip of the fraud iceberg formed after New Century - with the assistance of Defendants -
escaped this Court and were allowed to literally run amok in the loosely controlled environment
of the Arbitration.

2. Defendants' Misstep

41. During the Related Litigation, New Century and Defendants inadvertently
produced to Positive Software a confidential copy of an analysis that New Century and
Defendants secretly performed on LoanForce and LoanTrack. New Century and Defendants
never intended to disclose their unauthorized use of LoanForce after entry of the Protective
Order and preliminary injunction, and sought return of the accidentally produced document.

42. Following that inadvertent production, Defendants misleadingly described their

improper use of LoanForce to the Court as minimal. New Century's Chief Technology Officer

 

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for their Retail Division, Norment, admitted that he had access to Positive Software's
confidential source code in November 2003:

In November 2003, as part of New Century's trial preparation, and in order to

assist New Century's counsel in the case, l created a workbook using Microsoft's

Excel spreadsheet program that compared the Loanforce database schema to the

database schema for products New Century had created, including the LFMoon

database, the LTKMoon database, and the LoanTrack (for LoanTrack-l) database.

In doing this work, l used the same database schema for the databases that New

Century produced to Positive in this litigation on April 9, 2003. I did not use any

material produced in this litigation by Positive.

_ 43. In a subsequent letter to the Court, dated January 15, 2004, Barnett provided
additional information about Norrnent's access to the Lo~anforce database:

[W]e understand that Mr. Norment first obtained access to the compact disks

containing [the] LoanForce database on June 16, 2003, when he signed the CD

out from the New Century legal department, which was maintaining the CD and

the forensic images that had been created under the supervision of Dr. Pooch. Mr.

Norment signed the CD back in on July 10, 2003.... Mr. Norment may have kept a

copy of the ,CD's contents on his "personal" sector of a New Century server....

In the same letter, lead counsel explained that "Mr. Norment suggested the idea of
comparing the code and reporting the results to counsel, and counsel agreed that such a
comparison might be useful and directed him to create it for purposes of investigating the facts
underlying Positive [Software]‘s allegations of copying."

44. It was clear that the person (Norment) in charge of New Century's efforts to
reverse engineer Positive Software systems - the very person who should not have had Positive
Software's software - did in fact have access to it. The discovery of New Century's and
Defendants' deceptive practices and fraudulent misrepresentations - precipitated by the
inadvertently produced document - prompted the Court to take the drastic measure of

compelling New Century and Defendants to produce relevant privileged documents based on the

crime-fraud exception. The Court found that New Century's and Defendants‘ fraudulent conduct

 

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qualified for the crime-fraud exception and overruled New Century's objections to producing
privileged documents

45. The Order, though, was too late. On May 5, 2004, the Arbitrator Peter J. Shurn,
III, granted an arbitration award in favor of the New Century ("the Award").

3. The Truth Comes Out After the Arbitration

46. The Award was based in large part on factual grounds that were later proven to be
false and based upon fraud and perjury by the Defendants It was later proven that Susman
Godfrey and the other Defendants made material misrepresentations and fraudulently concealed
material evidence from Positive Software and the Arbitrator.

47. On August 24, 2004, New Century and Susman Godfrey ~ themselves represented
by independent counsel at this point ~ produced over 36,600 computer files pursuant to this
Court's Order on April 21, 2004 and Magistrate Judge Ramirez's Order on August 2, 2004. The
scope of the Orders related to potential post-injunction use of Positive Software's software by
New Century in violation of the preliminary injunction and U.S. copyright law.

48. New Century's belated production of 36,600 computer files revealed highly
relevant documents - never produced in the Arbitration - that exposed New Century's and
Defendants' civil conspiracy and the pervasive perjury and fraud in support of it. Positive
Software's discovery efforts following the Arbitration Award revealed New Century's and
Defendants' deliberate and willful efforts to conceal material evidence during the Arbitration and

to provide false testimony

 

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D. "WINNING IS EVERYTHING

1. New Century's and Defendants' Labyrinth of Lies and Hidden Evidence

49. New Century's and Defendants‘ post-Arbitration production of documents
demonstrate an extensive conspiracy by New Century that was actively supported by their
counsel - Barnett and Camina, partners in Susman Godfrey - to intentionally misrepresent facts,
fraudulently hide damaging evidence that would have disproven New Century's claims before
the Arbitrator and the offer of clearly perjurious testimony These belatedly-produced
documents establish that the statements New Century and its counsel made both to the Court and
the Arbitrator were false and intentionally deceptive and that there was a concerted effort to
purposely conceal material evidence.

(a) First fraudulent action and omission

50. New Century and Defendants willfully withheld the February 5, 2003 LoanForce
Support Plan. This document proves that New Century and its counsel lied to the Court when
they represented that they were surprised when the LoanForce software was keyed off. The
document unequivocally establishes that New Century and Defendants intentionally gave
perjured testimony Additionally, it establishes that New Century was furtively working on an
illegal design-around.

51. The LoanForce Support Plan is a document created by VisionCore Consulting
("VisionCore") on February 5, 2003, Any work performed by VisionCore for New Century that
related in any way to LoanForce was requested and should have been produced in the
Arbitration. The LoanForce Support Plan was wrongfully withheld by New Century and

Defendants. The LoanForce Support Plan was material to Positive Software's case because it

 

1 See http://www.susmangodfrey.com/ (last visited on August 13, 2007).

 

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disproved Defendants' own claims of fraud. The LoanForce Support Plan also conclusively
proved the intent element of Positive Software's fraud claims and violations of the Digital
Millennium Copyright Act. The LoanForce Support Plan details New Century's efforts to design
a "back door" to the LoanForce system in the event Positive Software keyed off the application
program. This document proves not only that New Century and Defendants expected a cut-off
due to their non-payment breach, but was working on an illegal design around. This document
also proves that New Century's fraud claim was itself fraudulent and based on perjury
(b) Second fraudulent action and omission

52. New Century and Defendants willfully withheld the document entitled
"LoanForce Replacement Issues and Altematives" (the "Lemieux Altematives"). This document
proves that New Century and its counsel lied to the Court when they represented that were
surprised when the LoanForce software was keyed off. The document unequivocally establishes
that New Century and Defendants intentionally gave perjured testimony

53. The document was authored by Lemieux. It is dated January 31, 2003, more than
a week before Positive Software keyed off the LoanForce application software and the day after
Positive Software had demanded an audit. The Lemieux Altematives admit breach of the
Software Subscription Agreement for non-payment -- a fact New Century denied in the
Arbitration -- and also disprove New Century's fraud claims The Lemieux Altematives were
never produced in the Arbitration precisely because the document contains several outcome-
detenninative admissions later contradicted by perjurious testimony

(c) Third fraudulent action and omission
54. New Century and Defendants willfully withheld the November 2000 version of

the LoanForce Database SQL Source Code. This document proves that New Century created the

 

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disputed tables after LoanForce was delivered. After fraudulently suppressing this critical
document, Camina and Barnett argued the "absence" of this evidence defeated Positive
Software's copyright claims

55. This document was allegedly "discovered" and disclosed to Camina and Barnett
only three days after Positive Software's counsel had last requested the earliest version of the
LoanForce program in New Century's possession. Despite discovery requests and orders from
the Arbitrator that all versions of LoanForce be produced, the November 2000 version was never
produced by New Century or Defendants When this document was discovered by Norment,
Camina never corrected Norment's testimony denying its existence weeks earlier _ testimony
that was utilized and offered into evidence at the Arbitration.

(d) Fourth fraudulent action and omission

56. New Century and Defendants fraudulently represented to the Court that the
LoanForce Application source code and database SQL code was stored only on individual
personal computers and not stored on any servers. In fact, New Century and its counsel willfully
withheld the fact that LoanForce Application source code and database SQL code resided on the
Nitrogen server, and thus was available to the programmers for copying This fraudulently
concealed fact allowed New Century to prevail and defeat Positive Software's motion for
preliminary injunction and allowed New Century to avoid Positive Software's claims of
copyright infringement and specific performance to return the software. New Century and
Defendants willfully misrepresented that the software developers had no access to the LoanForce
Application source code when they knew this statement was false, allowing them to avoid the

presumptions associated with such access

 

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57. In particular, New Century consistently swore in interrogatory responses that
"[t]he LoanForce application resided only on PC's used by the users - not on any server." New
Century and its counsel willfully withheld that both the LoanForce Application source code and
the database SQL code resided on the Nitrogen server, a "development server". Thus,
LoanTrack, LoanTrack II, and mLOS were available to programmers for copying, and were
available for New Century and its counsel to return to Positive Software, a fact New Century and
Defendants denied during the Arbitration in order to prevail on Positive Software's specific
performance claims seeking return of licensed products This effectively was aidenial that any
programmers for the LoanTrack, LoanTrack-2 and mLOS application software were provided
access to the LoanForce application software, The statements in the interrogatory responses
under oath were false and constitute perjury

(e) Fifth fraudulent action and omission

58. New Century's counsel, Barnett, made several other express fraudulent
representations to the Court, namely that: (1) New Century had no intention of ever using again
the LoanForce Application software, the LoanForce database, LoanTrack, LF_Moon, or
LTK_Moon; (2) New Century would delete or return all LoanForce software, including
application software and the LoanForce database, no later than April 25, 2003; (3) New Century
would not use LoanTrack-2 for telemarketing or any other commercial purpose before May 12,
2003; and (4) additional injunctive relief would not be necessary and under New Century's
expert's supervision, New Century had removed any danger of imminent harm to Positive

Software's interests All of these statements were false.

 

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E. POST-ARBITRATION LITIGATION

59. The basis of the Award would have been refuted by this evidence had it been
provided. Thus, the Award is the product of New Century's and Defendants‘ willful concealment
of material evidence, fraudulent misrepresentations and perjurious testimony Indeed, it is likely
that had New Century's counsel not been forced to produce documents by the Court's earlier
crime-fraud finding and the hiring of additional counsel, Positive Software would have never
have learned of the pervasive fraud.

60. On September 28, 2004, this court vacated the Award on one of the numerous
grounds upon which Positive Software had urged vacatur.

61. New Century appealed the vacatur to the United States Court of Appeal for the
Fifth Circuit. j

62. On January 11, 2006, the Fifth Circuit Panel of Circuit Judges Reavely Garza,
and Benavides affirmed the Vacatur. But on January 17, 2007, the Fifth Circuit, en banc-
applying a new standard_reversed the Vacatur and remanded the case to this Court for further
proceedings

63. Positive Software has again moved for vacatur of the Award on numerous
grounds including on the ground that the Award was procured through the fraud of New Century
and Defendants

IV.
CAUSES OF ACTION
A. Federal Copyright Infringement
64. Positive Software realleges each and every allegation set forth in paragraphs 1

through 63 above as if fully set forth herein.

 

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65. Positive Software owns all rights and title in and to its proprietary software
TeleTrend and LoanForce, which Positive Software has formalized by seeking and obtaining
federal registrations

66. By making, using, and distributing unauthorized copies of Positive Software's
TeleTrend and LoanForce software after entry of the preliminary injunction, the Defendants have
infringed Positive Software's copyrights therein.

67. Positive Software is entitled to recover from Defendants the damages it has
sustained and will sustain as a result of Defendants‘ wrongful acts The amount of damages
cannot be determined at this time. Positive Software is further entitled to recover from
Defendants their profits which were obtained as a result of their infringing acts Positive
Software is also entitled to recover its attomeys‘ fees for bringing this action under the Copyright
Act of 1976.

B. Fraud

68. Plaintiffs reallege each and every allegation set forth in paragraphs 1 through 67
above as if fully set forth herein.

69. Defendants individually and in their capacity as agents of other Defendants
made the following materials misrepresentations and/or omissions to Plaintiffs and the Court:

(a) Defendants Norment and Nese testified, under penalty of perjury that they
were surprised when Positive Software keyed off the LoanForce software, Defendants Camifia
and Barnett offered that testimony knowing it was false;

(b) Defendants Susman Godfrey Barnett, and Camina knowingly withheld
evidence that showed that the testimony of Defendants Norment and Nese was false; specifically

the LoanForce Support Plan and LoanForce Replacement lssues and Altematives;

 

PLAINTIFFS' ORIGINAL COMPLAINT PAGE 18 OF 23

 

 

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(c) Defendants Susman Godfrey Barnett, and Camii'ia knowingly withheld
the November 2000 version of the LoanForce Database SQL Source Code, and then argued its
non-existence to defeat Positive Software's claims;

(d) Defendants Susman Godfrey Barnett, and Camiiia never corrected the
record regarding Defendant Norment's false testimony that all versions of the LoanForce
Database SQL Source Code had been produced, even after learning that Defendant Norment
discovered the November 2000 version;

(e) Defendants Susman Godfrey Barnett, Camina, Nese, Norment, and
Lemieux falsely claimed that Positive Software's proprietary and copyrighted software was
stored only on stand-alone machines when in fact Defendants knew that the software was stored
on the Nitrogen server; and

(f) Defendant Barnett, and by extension Defendant Susman Godfrey falsely
stated that (1) New Century had no intention of ever again using the LoanForce Application
software, the LoanForce database, LoanTrack, LF_Moon, or LTK_Moon; (2) New Century
would delete or return all LoanForce software, including application software and the LoanForce
database, no later than April 25, 2003; (3) New Century would not use LoanTrack-2 for
telemarketing or any other commercial purpose before May 12, 2003; and (4) additional
injunctive relief would not be necessary and under New Century's expert's supervision, New
Century had removed any danger of imminent harm to Positive Software's interests

70. The foregoing representations and omissions were false, and Defendants knew
they were false at the time they were made. Further, Defendants intended that Positive Software
and the Court rely on those statements The Court did in fact rely on the false statements in

entering an injunction far narrower than the facts required.

 

PLAINTIFFS' ORIGINAL COMPLAINT PAGE 19 OF 23

 

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71. Plaintiffs are entitled to recover from Defendants the damages it has sustained and
will sustain as a result of Defendants' wrongful acts as alleged above.

C. Civil Conspiracy

72. Plaintiffs reallege each and every allegation set forth in paragraphs 1 through 71
above as if fully set forth herein.

73. Defendants conspired together to materially misrepresent and conceal facts and
evidence during the Related Litigation in order to fraudulently obtain a favorable result,

74. As a direct result of Defendants' fraudulent acts the defendants in the Related
Litigation obtained a favorable arbitration award.

75. Plaintiffs have expended enormous financial resources and several years in
attempting to overcome the fraudulently obtained arbitration award. Plaintiffs are entitled to
recover from Defendants the damages it has sustained and will sustain as a result of Defendants'
wrongful acts as alleged above.

76. After the adverse reward, Edward Mandel was forced to sell Positive Software at
a fire-sale price to ensure cash was available for an appeal bond. The difference between the sale
price and Positive Software's value was tens or hundreds of millions of dollars

D. Respondeat Superior

77. Plaintiffs reallege each and every allegation set forth in paragraphs 1 through 76
above as if fully set forth herein.

78. Plaintiffs were injured as a result of Defendants' fraudulent acts including those
of Defendants Barnett and Camina. Defendants Barnett and Camina are partners in the law firm
of Defendant Susman Godfrey who provided legal services to New Century and several of the

Defendants

 

PLAINTIFFS' ORIGINAL COMPLAINT PAGE 20 OF 23

 

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79. Defendants Barnett and Camina committed these fraudulent acts in furtherance of
Defendant Susman Godfrey's business in the context of their legal work for New Century and
the other Defendants and with the authority of Defendant Susman Godfrey.

80. In committing their fraudulent acts Defendants Barnett and Camina were acting
within their scope as partners in Defendant Susman Godfrey

81. Accordingly, under the theory of Respondeat Superior, Defendant Susman
Godfrey is vicariously liable for the fraudulent acts of its partners and agents Defendants Barnett
and Camina.

WHEREFORE, Plaintiffs pray for judgment against the Defendants as follows:

l) That Defendants be held to have infringed Positive Software's copyrights in its
software since the termination of the License Agreement;

2) That Defendants be held to have committed fraudulent acts and omissions during
the Related Litigation;

3) That Defendants be held to have conspired together to defraud Plaintiffs in the
Related Litigation;

4) That judgment be entered for Plaintiffs against Defendants for Plaintiffs' actual
damages and for any additional profits attributable to infringements of Plaintiffs' copyrights or
altematively that judgment be entered against Defendants for statutory damages based upon
Defendants' acts of infringement;

5) That Defendants be required to account for all gains profits and advantages from
their acts of infringement and for their other violations of law;

6) That judgment be entered for Plaintiffs for the damages they would have been

awarded in the Arbitration absent such fraud to the fullest extent permitted by law;

 

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7) That Plaintiffs have judgment against Defendants for Plaintiffs' costs and
attorneys' fees;

8) That the Court grant such other, further, and different relief as the Court deems
just and proper;

9) That Plaintiffs be awarded punitive damages and

10) That Plaintiffs be awarded all damages incurred as a consequence of or related to
Defendants' fraud, including the diminution of the value of Positive Software as an acquisition or
merger target.

V.
,|URY DEMAND
In accordance with FED. R. CIV. P. 38 and 39, Plaintiffs assert their rights under the

Seventh Amendment of the United States Constitution and demand a trial by jury on all issues

 

PLAINTIFFS' ORIGINAL COMPLAINT PAGE 22 OF 23

 

 

 

Case 3:07-cv-01422-O Document 1 Filed 08/20/07 Page 23 of 24 Page|D 23

Dated: August 20, 2007 mitted,

   

 

 

    

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Alfonso Garcia Chan

State Bar No. 24012408 /
Justin B. Kimble
State Bar No. 24036909
SHORE CHAN BRAGALONE LLP
325 North Saint Paul Street-Suite 4450
Dallas, Texas 75201
(214) 593-9110 Telephone

. (214) 593-9111 Facsimile
shore @ shorechan. corn
achan@shorechan.com
jkimble@shorechan.com

ATTORNEYS FOR PLAINTIFFS y
POSITIVE SOFTWARE SOLUTIONS,
INC. AND EDWARD MANDEL

 

PLAINTIFFS' ORIGINAL COMPLAINT PAGE 23 OF 23

 

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POSITIVE SOFTWARE SOLUTIONS, INC.
AND EDWARD MANDEL

(b) COUNTY OF RESIDENCE OF FIRST LISTED

PLAINTIFF Denton County, Texas
(EXCEPT IN U.S. PLAINTIFF CASES)

DEFENDANT S

SUSMAN GODFREY LLP

OPHELIA F. CAMINA
BARRY C. BARNETT

FRANK NESE
JEFF LEMIEUX
JOHN NORMENT

DEFENDAN'I` Harn`s Coun

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COUNTY OF RESIDENCE OF FIRST LISTED

Texas

 

(IN U.S. PLAINTIFF CASES ONLY)

NOTE:

 

 

 

 

 

 

 

 

  
   

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(c) ATTORNEYS (F!RM NAME, ADDRESS, AND ATTC RNEY (IF K
TELEPHONE NUMBER)
Michael W. Shore ]
Shore Chan Bragalone LLP UNK_NOWN
325 North Saint Paul Street-Suite 4450
Dallas, Texas 75201 (214) 593-9110 T ' " RT
(214) 593-9111 F“° ‘mii‘i Fm< ii q niSrRicr coi_im C.Ur_" v ii 3 DSi$g|F§|CLS%-:y,xe
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Defendant (lndicate Citizenship of Parties Place of Business In Another
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Litigation

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Vl. CAUSE OF ACTION

(Cite the U.S. Civil Statute under which you are filing and write brief statement of cause Do not cite jurisdictional statutes unless diversity.)

Action under 17 U¢S.C. § 101 et seq. for infringement of copyright

 

 

 

 

VI[. REQUESTED IN l:l CHECK IF THIS IS A CLASS ACTION DEMAND $ unspecified CHECK YES only if demanded iri complaint:
COMPLAINT: UNDER F,R.C.P. 23 JURY DEMAND: YES m NO
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August 20, 2007

 

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JUDGE _

 

